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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                          *     MDL NO. 2179
       “DEEPWATER HORIZON”
       In the GULF OF MEXICO on                          *     SECTION: J
       April 20, 2010
                                                         *     JUDGE BARBIER
Applies to: All Cases
                                                         *     MAG. JUDGE SHUSHAN


                                            ORDER

       Transocean has made a Motion in Limine to preclude parties from introducing evidence

(including but not limited to, testimony, documents, and expert opinions) concerning prior

incidents unrelated to the Macondo Well in which Transocean’s conduct was allegedly unsafe,

negligent, or otherwise inappropriate pursuant to Amended Pre-Trial Order No. 54 [Doc. 8173].

       Having considered the Motion submitted, the Court is of the opinion that its intervention

in this case is necessary for good cause shown. Therefore, it is hereby:

       1.      ORDERED, ADJUDGED, and DECREED that Transocean’s Motion is

GRANTED, and Parties may not introduce evidence (including but not limited to, testimony,

documents, and expert opinions) concerning prior incidents unrelated to the Macondo Well in

which Transocean’s conduct was allegedly unsafe, negligent, or otherwise inappropriate;

       2.      IT IS FURTHER ORDERED, ADJUDGED, and DECREED that all relief not

expressly granted is denied.

               Signed this _____ day of ______________, 2013.



                               ______________________________________________________
                                 UNITED STATES MAGISTRATE JUDGE SALLY SHUSHAN
